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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

    KAJEET, INC.,                                  §
                                                   §
          Plaintiff,                               §  CIVIL ACTION NO. 6:21-cv-704-ADA
                                                   §
    v.                                             §
                                                   §
    INFOWEISE PTY., LTD.,                          §
                                                   § JURY TRIAL DEMANDED
          Defendant.                               §

              PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER and
         NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)

         Plaintiff KAJEET, INC. (“Plaintiff” or “Kajeet”) hereby provides its response to the Order

to Show Cause entered by the Court on March 20, 2023. Dkt. 18. In it, the Court requests that

Kajeet provide an explanation for the inactivity in this Action following denial of Kajeet’s Motion

for Default Judgment. Dkts. 14, 17.

         The Order denying Kajeet’s Motion for Default Judgment was entered on July 15, 2022,

just over a year after the filing of the Complaint asserting a single claim of patent infringement in

this Action. After filing of the Complaint, Kajeet attempted to effect service through several

alternative means to no avail. Defendant Infoweise Pty., Ltd. never responded in any way. Kajeet

therefore moved for entry of default, which was entered by the clerk on August 31, 2021. Kajeet

then moved for default judgment. Dkt. 14. Kajeet’s motion remained pending without decision for

the next eight months before being denied. Dkt. 17.

         During that time, the validity of the patent asserted in this Action was challenged in an IPR

proceeding 1, IPR2022-00001, which was instituted on April 21, 2022. In response to institution of



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    IPR2022-00001 filed by Petitioner NortonLifeLock, Inc. filed on October 1, 2022.

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the IPR, stays were sought in each pending litigation asserting infringement of the patent asserted

in this Action, including related litigations pending in this Court. See, e.g., Kajeet, Inc. v. Trend

Micro, Inc., Case No. 6:21-cv-00389-ADA [Dkts. 56, 61]. Because Defendant in this Action has

never made an appearance in the case, no schedule was ever entered, and Kajeet’s Motion for

Default Judgment remained pending, Kajeet did not take any further action. This Action remained

dormant thereafter until the Court’s Order entered last week.

        In light of the foregoing, and because the IPR proceeding remain ongoing, Kajeet hereby

voluntarily dismisses its Complaint without prejudice to refiling of the same pursuant to Fed. R.

Civ. P. 41(a)(1)(A). 2 Kajeet intends to evaluate its claims against Defendant, including whether to

re-file to assert infringement of the ‘559 Patent, following final resolution of the IPR.

        Dated: March 27, 2023                     Respectfully submitted,

                                                  /s/ Richard A. Wojcio, Jr.
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                                                  ATTORNEYS FOR KAJEET, INC.




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  Kajeet confirms that Defendant has not submitted its Answer, nor filed a motion for summary judgment in this
Action. Accordingly, voluntary dismissal pursuant to Rule 41(a)(1)(A) remains available.

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                                 CERTIFICATE OF SERVICE
        I hereby certify that on the 27th day of March, 2023, I electronically filed the foregoing
document with the clerk of the court for the United States District Court, Western District of Texas,
using the electronic case filing system of the court. The electronic case filing system sent a “Notice
of Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice
as service of this document by electronic means.


                                                      /s/ Richard A. Wojcio, Jr.




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